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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 KATHERINE CUTRONE et al., on behalf                    )
 of themselves and all others similarly situated,       )
                                                        )
                                      Plaintiffs,       )   Civil 1:20-CV-06463
                                                        )   District Judge Manish S. Shah
 v.                                                     )
                                                        )
 THE ALLSTATE CORPORATION et al.,                       )
                                                        )
                                    Defendants.         )

                       JOINT REPORT ON DISCOVERY PROGRESS

        This joint report on discovery progress is submitted on behalf of all parties as directed in

the Court’s Order of November 15, 2021 (Dkt. No. 48).

        Since the parties submitted their initial Joint Status Report on November 9, 2021 (Dkt. No.

47), discovery has advanced. The parties submitted to the Court, and the Court subsequently

entered, a Stipulation and Order Regarding Production of Documents and Electronically Stored

Information (Dkt. No. 49); an Agreed Confidentiality Order (Dkt. No. 50); and Stipulation and

Order Governing Privilege Logs (Dkt. No. 51).

        On November 11, 2021, the parties served their respective Rule 26(a)(1) Disclosures.

Plaintiffs and Defendants served their initial sets of interrogatories and requests for production on

November 17, 2021, and November 30, 2021, respectively, and the parties timely served written

objections and responses to these discovery requests. On December 13, 2022, Defendants made

an initial production of nearly 9,500 pages of documents in the categories identified in the Court’s

Order of November 15, 2021 (Dkt. No. 48). On March 7, 2022, Defendants made a supplemental

production.   This production consisted of an additional nearly 2,700 pages of documents

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responsive to document requests and other items identified in the initial disclosures and the

November 15, 2021 Order. (The materials produced are not encompassed by the contemplated

ESI searches discussed below.) Plaintiffs are reviewing Defendants’ production and anticipate

serving a meet and confer request on Defendants regarding their written objections and responses

to Plaintiffs’ discovery requests and Defendants’ production to date.

       Plaintiffs made an initial proposal of ESI search commands for Defendants’ assessment on

January 19, 2022. The parties have been conferring to reach agreement on the parameters for the

ESI searches to be performed in this case, including specific ESI search terms and custodians.

Allstate has conducted initial test searches utilizing proposed search terms provided by Plaintiffs.

The parties have agreed that Allstate will provide further test search results to aid in the parties’

discussions. The parties’ efforts to reach agreement on ESI searches are currently ongoing.

       On February 11, 2022, Allstate served a meet and confer request on Plaintiffs regarding

Plaintiffs’ written objections and responses to Allstate’s discovery requests. On March 7, 2022,

the parties participated in a meet and confer conference to address those issues and other discovery-

related matters, and to try to resolve various discovery disputes without the need for Court

intervention. The parties have agreed to continue those discussions and to move forward with

discovery expeditiously. Plaintiffs anticipate commencing their document production promptly

following the conclusion of those discussions.

       Accordingly, the parties do not have any issues to bring to the Court’s attention at this time.


Dated: March 8, 2022

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